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                    UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ART AKIANE LLC,

             Plaintiff,
                                             Case No. 19-cv-02952
                          v.
                                             Judge Edmond E. Chang
ART & SOULWORKS LLC,
CAROL CORNELIUSON,                           Mag. Judge Jeffrey Cole
CARPENTREE, LLC, and VIRGINIA HOBSON,

          Defendants.
ART & SOULWORKS, and CAROLYNE
CORNELIUSON,

             Counter-Claimants,

                          v.

ART AKIANE LLC, AKIANE ART GALLERY,
LLC, and AKIANE KRAMARIK,

             Counter-Defendants.



            REPLY TO SUPPORT PLAINTIFF ART AKIANE LLC’S
       AND COUNTER-DEFENDANTS’ MOTION TO COMPEL [DKT. 262]
   AGAINST DEFENDANTS ART & SOULWORKS AND CAROL CORNELIUSON


Dated: October 29, 2021              Respectfully submitted,

                                     By: s/ Adam Wolek
                                     Adam Wolek
                                     Fox Rothschild LLP
                                     321 N. Clark Street, Suite 1600
                                     Chicago, IL 60654
                                     Telephone: (312) 517-9299
                                     Facsimile: (312) 517-9201
                                     awolek@foxrothschild.com

                                     Counsel for Plaintiff and Counter-Defendants
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                                              INTRODUCTION1

         Defendants’ Opposition avoids the merits and relevancy of the Requests at issue, which

relate to Art Akiane’s state law claims, and, instead, seeks to apply rulings regarding unrelated,

prior requests not at issue here. Defendants first contend that these Requests are “duplicative”

because of prior rulings to earlier discovery requests the Court found were directed to Art Akiane’s

copyright claims. Put plainly, Defendants assert that this Court’s prior rulings regarding copyright

discovery also limit Defendants’ obligation to respond to separate and additional discovery

requests directed to Art Akiane’s state law claims. However, this Court’s ruling that copyright

damages are limited to 3 years does not bar Art Akiane’s state law claims that span longer. And,

Judge Chang’s choice of law ruling applied Illinois law to the state claims and Colorado procedural

law to the breach of contract claim, to which the Requests here relate.2

         Defendants’ opposition next does not address the longer period permitted by Colorado’s 6-

year contract statute or its codified discovery rule statute that enables the factfinder to look back

to when the claims accrued. Because Defendants hid their underlying conduct, Art Akiane can

investigate when it began by looking further back in time.

         Further, despite their principal defense that “oral modifications” or “oral agreements”

altered their rights and obligations under the License Agreement, defendants do not dispute that

they failed to substantively respond to Requests about when the disputed “oral modifications”

occurred, who allegedly agreed to them, and the purported terms. Defendants now appear to argue



1
 All capitalized terms are used as in Movants’ Motion to Compel Against Defendants Art & SoulWorks LLC and
Carol Corneliuson (Dkt. 262, “Motion”) unless otherwise stated.
2
  Even if the damages period was limited to 3 years (which it is not), the requested discovery is relevant to motive,
intent, planning, and state of mind and, thus, should not be limited at the discovery phase. If Defendants assert that
such production is not admissible at trial, Defendants have the ability to seek such relief at the appropriate time.
Unilaterally withholding discovery deprives Movants of the ability to fully evaluate their claims and have this matter
decided on the merits.

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that these permissions were separate from the License Agreement and thus it forgives them from

responding to the interrogatory about oral modifications to the License Agreement. Even though

they answered an interrogatory that they “received permission…to produce, reproduce, copy,

modify, or print...pursuant to the License Agreement.” Defendants position is logically flawed. If

these alleged “oral modifications” are Defendants’ primary defense, and Defendants contend they

received oral “permission” to “modify” the terms of the License Agreement, such “oral

modifications” relate to the License Agreement and are, therefore, relevant. Defendants’ responses

are insufficient.

        Finally, Defendants contend that, because they previously produced some documents and

because they estimate Plaintiff’s damages as “low,” they do not have to fully respond to

interrogatories or provide sales information past 3 years.3 While Defendants have a right to argue

their theory on damages, they cannot unilaterally withhold documents that would prevent Movants

from countering Defendants’ damages valuation and are not relieved of their Rules 33 and 34

obligations to provide full responses or sales information. Plaintiff has the right to assess the sales

information and to do its own damages assessment.

        In sum, the Requests at issue seek information relating to Defendants alleged oral

modifications, instances in which Defendants’ breached of the License Agreements, Defendants

printing of Movants’ work without authorization, and associated damages. These Requests are

relevant to Defendants’ infringing acts, Movants’ state law claims (including breach of contract,

unjust enrichment, and tortious interference), damages, and to Defendants’ affirmative defenses.

Defendants’ exhaustive efforts to avoid providing responsive answers and producing responsive



3
  Defendants claim that their previous production of 20,000 pages of documents is a red herring because much of the
production (and page count) are public docket documents and auto-Facebook printouts, and they still fail to state how
they relate to the Requests at issue.

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documents is telling.

                                                 ARGUMENT

I.        The Court’s Prior Ruling On Copyright Requests Did Not Address Nor Bar Art
          Akiane’s Later Requests Relating To Its Breach Of Contract and State Claims.

          Defendants first argue that when the Court compelled Defendants to respond to discovery

on the copyright claims (Dkt. 186), its ruling acted as a bar to Art Akiane’s later Requests, which

relate to Movants’ breach of contract and state law claims, and which the Court did not previously

consider. Defendants contend that even though these later Requests were separate requests, they

do not have to respond because they appear similar so are barred as “duplicative.” First, the Court

has not previously ruled on any of these discovery requests at issue. Second, because the Requests

are separate requests, Defendants are obligated to fully respond to them under Rules 33 and 34.

Third, Defendants’ “duplicative” objection rings hollow because Defendants responded to many

of the Requests, but limited their responses to 3-years. Accordingly, Defendants have conceded

the legitimacy of the Requests; they simply seek to unilaterally limit their temporal scope.

          Defendants premise their 3-year limitation on discovery, in part, on the copyright statute

of limitation for damages that the September 18, 2020 Order (Dkt. 186) addressed in prior requests.

But Judge Chang’s Choice of Law Order and Colorado procedural law contravenes Defendants’

position because Art Akiane’s state law claims make Defendants’ acts and the resulting damages

relevant to a much longer time period (enabling Movants to look back to the start of Defendants’

acts).4

          Defendants contend that the September 18, 2020 Order that addressed prior requests to

copyright claims (“Dkt. 186 Order”) justifies their refusal to respond to later-issued interrogatories.


4
 Movants note that it is improper for Defendants to unilaterally limit production at the discovery phase. As noted
earlier, if Defendants have a compelling argument to limit the use of production, once the facts are fully developed,
Defendants are free to file their motion. Such a decision is simply premature at this stage.

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But the Dkt. 186 Order was not directed to Art Akiane’s breach of contract and state law claims,

and the Order did not preemptively make these claims “irrelevant” or “duplicative” to later issued

discovery. Movants served these Requests after the Court’s Order, and this will also be the Court’s

first time addressing Defendants’ responses (including after Judge Chang’s Choice of Law Order).5

Indeed, Judge Cole even said that his rulings on the prior requests were “solely on the copyright

claims.” See Dkt. 203 at 2; see e.g., Dkt. 186 at 3 (“While it is plaintiff’s argument throughout its

motions that its requests are ‘relevant’ to its copyright claims…”); id. at 6 (“Given plaintiff’s claim

that this request is relevant to its copyright claim…”).6 Thus, the Court did not previously address

the issues raised in this Motion.

           Defendants’ contention that the Requests are irrelevant to Art Akiane’s breach of contract

claim is similarly without merit. For instance, Defendants’ principle defense is that they “orally

modified” the License Agreement with Art Akiane, and that such modifications permitted their

conduct. Movants dispute that any oral modifications occurred.7 At its crux, without these alleged

“oral modifications,” each of Defendants’ acts would be a breach of the License Agreement,

making each such action relevant to Movants’ breach of contract claim.

           Tellingly, during a meet and confer, Defendants stated that Movants could simply seek the

information about “oral modifications” in depositions, rather than through the interrogatories


5
    Judge Cole’s prior rulings predated Judge Chang’s Choice of Law Order.
6
    Judge Cole further stated in his November 5, 2020 Order:
      [T]he [earlier] Motions concentrated solely on the copyright claims …. [A]s the Plaintiff concedes, it
      previously made no argument regarding its contract claims or the statute of limitations applicable to those
      claims. Thus the challenged Orders properly limited the discovery requests to a period of three years [, the
      statute of limitations for copyright claims.]
                                                *     *         *      *
      The court can only rule on the motion a party files… The Motions the Plaintiff filed had nothing to do with
      the dispute discovery requests being relevant to Plaintiff’s contract claims, only its copyright claims… Dkt.
      203 at 2-3, 4 (emphasis in original).
7
    Movants dispute that any oral modifications occurred.

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Movants had already issued. This itself betrays Defendants’ relevancy contention. Defendants do

not get to direct which discovery mechanisms Movants can utilize. Defendants offer no opposition

to Movants’ argument that they have a right to serve interrogatories on such issues. By telling

Movants to get the information regarding their oral modifications in depositions, Defendants

effectively concede the relevance of Interrogatory Nos. 1 and 21. Defendants merely seek to dictate

the way Movants obtain the information.

            Even so, the Licensing Agreement expressly dictates what conduct was permitted and

prohibited. For instance, the License Agreement required Defendants to send Art Akiane samples

of each item prior to being sold, and to keep getting preapproval “on each product and each

image…” Dkt. 96-8 §§ I, L. To that end, Interrogatory Nos. 15, 17, and 22 seek information

relating to instances in which Defendants’ modified or altered Art Akiane’s works without

approval or pre-approval. Thus, these requests seek information about violations of the Licensing

Agreement, instances of breaches to the same, and are also relevant to Art Akiane’s unjust

enrichment allegations.

            The License Agreement also specifies the contractually permitted marking of an image,

and Interrogatory No. 16 seeks discovery related to Defendants’ use of markings other than those

permitted by the Licensing Agreement. Dkt. 96-8 § H; and see Ex. A, at Interrog. 16.8 Thus,

Interrogatory No. 16 also seeks information relevant to Art Akiane’s breach of contract claim.

            Defendants contend next that the Requests seek information relating to actions taken

“pursuant to the Licensing Agreement,” so they only relate to the express written Licensing

Agreement, and not alleged oral modifications of it. That is a pedantic argument that ignores basic

contract principles. Defendants’ primary defense is that the parties made oral modifications to the


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    All references to exhibits refer to the exhibits attached to the Motion, unless otherwise stated.

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Licensing Agreement. If true (which Art Akiane disputes), such oral modifications are actions

taken pursuant to the License Agreement (which would include modifications to the same) and the

very modifications in dispute become a part of the operative terms of the written Licensing

Agreement. That falls squarely within the scope of Movants’ Requests. Given that the alleged

modifications form the cornerstone of their defense, Defendants should not be excused from

providing the basis of their defense through written discovery. Indeed, Defendants have only stated

that there were “oral modifications” and agreements, but have provided zero details of what those

agreements were, with whom, or when they allegedly occurred. Simply put, Movants have a right

to have notice of Defendants’ defenses so that they can diligently investigate them and prepare for

depositions and trial.

       Defendants also newly contend that they have responded to an excessive number of

discovery requests and produced 20,000 pages of documents. But Defendants waived that

objection because they did not previously object to the numerosity of the Requests or that they

exceeded permissible allotments. See Ex. A, generally. Nor did Defendants seek a motion for a

protective order. Having failed to raise such an objection in their discovery responses or by motion,

Defendants waived it. See, e.g., N.Y. Life Ins. Co. v. Peters, 2021 WL 229659, at *3 (N.D. Ill. Jan.

22, 2021) (party waived objection to number of interrogatories by failing to raise it); U.S. Equal

Employ. Opp. Comm’n v. Dolgencorp, LLC, 2015 WL 7251947, at *3 (N.D. Ill. Nov. 17, 2015)

(objection to the number of interrogatories waived where responding party answered the

interrogatories). To the contrary, Defendants answered each Request—though incompletely. See

Ex. A. ASW should not now be permitted to create new objections to avoid its belated responses.

       At any rate, Defendants omit that much of its production are public documents, such as

thousands of pages pleadings and Facebook posts, which can be downloaded in minutes.



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Defendants thus have not, as they imply, produced tens of thousands of internal documents and

emails to these or any other discovery requests.9

II.        Judge Chang’s Choice Of Law Order Does Not Limit Discovery To 3 Years.

           Defendants next contend that they have fully complied with their discovery obligations

because Judge Chang’s Choice of Law Order limited damages to 3 years. The Choice of Law

Order, however, does not discuss the length of the statute of limitations for any claim nor limits

discovery or damages to 3 years. Dkt. 252. It only holds that Colorado’s statute of limitations

applies to the parties’ breach of contract claims and that Illinois law applies to other state law

claims. Id. at 17.10 Both Colorado breach of contract law and Illinois state law claims permit

relevant discovery past any statute of limitations periods for damages, and each have statutes of

limitations that extend beyond 3 years, including to the beginning of the breaching acts.

           To begin, Federal Rule 26 places no limits on discovery for statutes of limitations and

federal courts have expressly held that statutes of limitations do not establish the outer limits of

discovery. Fed. R. Civ. P. 26; see also Geinosky v. Cty. of Chi., 675 F.3d 743, 750 (7th Cir. 2012)

(stating that “even if [plaintiff] cannot recover damages” from “acts outside the limitations period,”

the earlier acts may still provide relevant discovery).11 Defendants do not dispute this principle.

           Defendants also fail to address Colorado’s discovery rule statute and the “accrual date” of

claims, which extend contract breaches beyond 3-years. In Colorado, a breach of contract claim

does not accrue on the date the breach occurs. It accrues “on the date the breach is discovered or


9
    Defendants also have cited to many of these documents, as responses to interrogatories under Rule 33(d).
10
  Defendants repeatedly claim that they provided documents and information going back beyond the 3 years. Yet
Defendants ignore they objected to each Request past 3 years relying on “information beyond the time frame permitted
by Judge Cole’s September 18, 2020 Order.” See Ex. A, generally.
11
  For instance, if Defendants, without authorization, posted an image of one Art Akiane’s works on Facebook in 2015,
each time the post is viewed, it becomes a new “transmission” of a copyrighted work. Thus, Defendants’ posting of
the image in 2015 (ostensibly outside the limitations period) is relevant to a transmission occurring in 2019 (within
the limitations period).

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should have been discovered by the exercise of reasonable diligence.” C.R.S.A. § 13-80-108(6).

In other words, Colorado codified the discovery rule for breach of contract claims. So, discovery

is not “cut off” at 3-years in Colorado (or under Illinois’ state law claims). Rather, courts permit

the parties to investigate the date(s) on which the claims accrued. This takes into consideration

Defendants’ concealment efforts, breaching acts, and their motivations for the same.

         For instance, Art Akiane has alleged that Defendants undertook actions specifically

directed to conceal their improper and illegal conduct from Art Akiane. Revealing this, Movants

attached an email where Defendants planned to undertake actions to “sidestep” Akiane Kramarik’s

father. Ex. C at 1. While Defendants claim they were not a party to the communication, they omit

that the email chain begins with them (Defendant Corneliuson) writing to Defendant Carpentree,

and the chain later describes the intent to “sidestep” Art Akiane. Indeed, that is exactly what

happened. This email infers both parties’ conduct and participation. Producing more information

about their “side stepping” scheme would undoubtably provide more context to this case and more

evidence of concealment—the very reason Defendants wish to withhold such information.12

         Movants have shown the relevance of the issues relating to the concealment of Defendants’

actions, allowing discovery to go beyond 3-years. At the discovery phase of this case, Movants

should be permitted to seek evidence of Defendants’ efforts to keep Art Akiane in the dark. But

Defendants’ efforts to unilaterally set a cutoff date should not be permitted as it prejudices Art

Akiane’s ability to investigate the complete merits of its asserted claims.

         Despite limiting its discovery responses to 3 years, Defendants appear to concede that a 6-



12
  Indeed, there are many emails and acts showing Defendants’ schemes and concealment uncovered from Defendant
Carpentree, but Defendants ASW and Corneliuson have refused to produce their records relating to the same. Movants
seek this information, and the Requests to them, are tailored to learn more about ASW’s and Corneliuson’s conduct
and defenses. Accordingly, if the Court would find it helpful, an evidentiary hearing on Defendants’ conduct could
help the Court determine that there is the need for more discovery on this issue.

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year statute of limitations applies to unpaid royalties under the License Agreement. Dkt. 267 at 11.

Defendants, however, contend that damages for the unauthorized modifications are excluded. But

unauthorized modifications are still breaches of the contract, and are even easier to calculate as

they go directly to ASW’s sales of the works (without the need to multiply by the royalty rate). Or

if Defendants contend that they agreed to a different formula through oral modifications, Art

Akiane has the right to discover what that is and to assess Defendants’ claims. But Defendants’

unilateral attempt to bar any discovery beyond 3 years creates a sword-and-shield scenario

allowing them to claim the defense without having to state any details about it or sales from

sidestepping Movants.13

III.     The Discovery Sought In The Motion Is Otherwise Relevant To Issues In The Case.

         At its crux, Defendants’ acts that were contract breaches and unfair competition are directly

relevant to the claims and damages alleged in the operative complaint. Defendants’ acts are also

relevant to their affirmative defenses and representations made to Movants. For instance, did

Defendants intend to conceal their conduct or “sidestep” Movants? If so, those acts and conduct

are relevant to when the claim accrued, and also to damages for unfair competition and unjust

enrichment. Defendants’ concealment and conduct is also relevant to their intent, motive, bias,

planning and mindset for those acts and behaviors. Similarly, Defendants’ affirmative defense that

it had “oral agreements” and agreed “oral modifications” with Movants to modify the License

Agreement and to ignore its demands rests only on Defendants word, and it also goes to




13
   The cases Defendant cite for applying the 6-year statute of limitations are not on-point because the contracts there
did not include methods for determining damages. See Neruomonitoring Assocs. v. Centura Health Corp., 351 P.3d
486, 488-490 (Colo. App. 2012) (plaintiff sought recovery for loss of business expectation and future losses, not
nonpayment for services provided under a contract); Union Pac. R. Co. v. Certain Underwriters at Lloyd’s, London,
37 P.3d 524, 525 (Colo. App. 2001) (insurance contract failed to include method for calculating amount due). Here, a
Licensing Agreement expressly provides a formula for calculating royalties owed to Art Akiane, or the court can look
to the total sales.

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Defendants’ intent, motive and bias to create the “oral modifications.”

        Indeed, a witness’ motivation or bias is always relevant at trial. Aside from any bars to

recovery of damages relating to a statute of limitations period, providing the jury with the context

of “why” Defendants engaged in such behavior is relevant. As money is often times the ultimate

motivator for one to act, especially in business, showing the jury why—i.e., the money they were

making at Movant’s expense—will provide context as to Defendants motive, intent, planning and

bias in this case.

        Defendants’ opposition is more suited for a motion in limine, when the Court has the benefit

of reviewing the entire record, than allowing Defendants to withhold documents in the first place.

IV.     The Requests Are Proportional And Not Unduly Burdensome.

        Finally, Defendants contend they should not have to respond to the Requests because the

Requests are not proportional to the needs of the case and are unduly burdensome. Defendants

argues that Art Akiane seeks “at least $46,473 in unpaid royalties,” ASW is essentially “defunct,”

and Art Akiane can just as easily obtain copies of Defendants’ Facebook and social media posts.

Dkt. 267 at 14-15.

        Defendants suggest that because Art Akiane seeks a “small” amount of damages, the Court

should excuse Defendants’ inadequate and incomplete discovery responses. Putting aside that

Defendants only provided sales data for 3 years, their “$46,473 in unpaid royalties” calculation is

incomplete and only goes to one form of damages (ignoring lost profits, disgorgement, and other

damages theories). Defendants deficient responses also prevent Movants from doing their own

analysis or challenging this calculation. At bottom, Defendants’ earnings from Movants’ works is

some of the key discovery sought. In effect, Defendants are arguing that because one type of

damages for what they disclosed so far are potentially small, this should bar Movants from

assessing the full extent of potential damages. Defendants cite no authority for this radical position,

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or that less discovery should be provided based on Defendants’ self-reported potential damages.

Rather, Movants have a right to investigate the full damages from Defendants’ breaches and unfair

competition, and thus should have a right to see all of Defendants’ sales of Movants’ works.

       Defendants similarly cite no legal authority for the newly raised position that if a defendant

is defunct or out of business (which is news to Movants), it is excused from discovery obligations.

First, Art & SoulWorks is still operating, and has repeatedly stated that it would continue to do so

and keep making (infringing) sales. In fact, Movants were forced to seek and win a preliminary

injunction to get Defendants to stop their conduct.

       Defendants also fail to show how production will create an undue cost, time, or burden

with standard productions like sales figures, breaching acts, or the details for their “oral

agreements” defense.

       Additionally, Defendants contention that Movants can simply print out Defendants’ social

media pages is not responsive to Movants’ interrogatories asking Defendants to identify the works

that Defendants modified or altered. Defendants, not Plaintiff, are in the best position to identify

the works they modified, and should be unable to reverse their discovery obligations.

       Finally, the cases Defendants cited for their proportionality argument are not relevant here.

For instance, in Aptargroup, Inc. v. 3M Co., plaintiff sought discovery of “‘thousands (if not

hundreds of thousands)’ of documents “‘that [went] back decades and originate[d] with two’ other

non-party pharmaceutical companies and various clinical trials associated with the

pharmaceuticals.” 2018 WL 11189351, at *3 (N.D. Ill. May 25, 2018). But unlike in Aptagroup,

Movants do not seek hundreds of thousands of documents. Even so, the court in Aptargroup still

ordered the pharmaceutical company to produce a subset of the requested documents. Id.

       Defendants also cite Greene v. Sears Prot. Co. for support. However, unlike here, the



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plaintiffs in Greene conceded that they had “proceeded on the assumption” that a 4-year statute of

limitations applied to their claims but then, near the close of discovery, argued that a strong case

could be made for application of a 10-year statute of limitations. 2017 WL 1134484, at *5 (N.D.

Ill. Mar. 27, 2017). Moreover, the Greene court allowed discovery going back more than 4 years

before the filing of the lawsuit—i.e., longer than the 4-year statute of limitations. Id. (plaintiff

filed the case on March 25, 2015; the Court allowed discovery dating back to March 25, 2010).

        No matter the ultimate statute of limitation period this Court imposes, Defendants’ attempts

to unilaterally cut off discovery should be denied.14 The Requests go to relevant evidence that will

make the claims and defenses more or less probable. The Court will be in a better position to make

the right rulings after the facts are fully developed, enabling the parties to present their full cases

and defenses to the Court and jury. This case should be decided on the merits, not what Defendants

unilaterally believe is appropriate for them to turn over. Defendants’ attempts to handcuff

Movants’ ability to counter any of its contentions by withholding responses should be denied.

                                               CONCLUSION

        For these reasons and the reasons set forth in the Motion, Movants respectfully request that

the Court grant this Motion and order Defendants to provide detailed responses, without objection,

to the Requests for the life of the Licensing Agreement to the present. Movants also request their

reasonable attorneys’ fees incurred in bringing this Motion and any other relief the Court deems

just and proper.




14
    Defendants’ unduly burdensome claim is also not supported with statements, sworn or otherwise, showing the
production would be unduly burdensome. Defendants provide no context as to the time, energy or effort it would
require them to gather such documents. Thus, Defendants’ burdensome objection should be given no weight. Further,
Defendants’ claim that ASW is “virtually defunct,” without explaining what that means, even if true, does not excuse
it from producing company records easily generated from its accounting system, or collection of a simple word search
of its email records.

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                                CERTIFICATE OF SERVICE

       I certify that, on October 29, 2021, I filed this Reply to support Plaintiff/Counter-Defendant

Art Akiane LLC and Counter-Defendants’ Motion to Compel Against Defendants Art &

SoulWorks and Carol Corneliuson with the Clerk of Court via CM/ECF, which provided notice of

same to all parties and/or counsel who have made an appearance in this case.


Dated: October 29, 2021                       By: s/ Adam Wolek
                                               Adam Wolek




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